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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

BRIDGEPORT DIVISION
In re: Chapter 11
HO WAN KWOK, Case No: 22-50073 (JAM)

Debtor.

DECLARATION OF AARON A. ROMNEY

I, AARON A ROMNEY, hereby declare:

1. I am a partner with the law firm Zeisler & Zeisler, P.C., counsel for Mei Guo
(“Ms. Guo”) and Hong Kong International Funds Investments (USA) LLC (“HKI Delaware”). I
submit this Declaration pursuant to D.Conn.L.Civ.R. 37(a) in connection with Ms. Guo’s Motion
For Protective Order (the “Motion”.

2. The Motion seeks a protective order establishing the means by which Pacific
Alliance Asia Opportunity Fund, L.P. (“PAX”) may conduct the May 16, 2022, depositions of
Ms. Guo and HKI Delaware in connection with PAX’s Motion to Dismiss Chapter 11 Case or, In
the Alternative, Partial Joinder to United States Trustee’s Motion for an Order Directing the
Appointment of a Chapter 11 Trustee (the “Motion to Dismiss”) (Doc. No. 183). As detailed in
the Motion, Ms. Guo seeks certain safeguards in order to ensure, to the extent possible, her
physical safety and emotional security in connection with her upcoming depositions.

3. In a good faith effort to reach agreement on the means by which PAX would
conduct the May 16, 2022 depositions of Ms. Guo and HKI Delaware to ensure her physical
safety and emotional security, or at least narrow the issues presented to the Court via the Motion,
on May 5 and 6, 2022, I conferred via telephone with Laura Aronsson and David Harbach,

respectively, counsel for PAX.
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4. Despite our diligent and good faith efforts, PAX’s Counsel and I were unable to
reach an agreement, in-whole or in-part, on the issues that are the subject of the Motion.
Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Executed at Bridgeport, Connecticut on this 10" day of May, 2022.

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